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           EXHIBIT 152
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HIGHLIGHTS OF PRESCRIBING INFORMATION                                                because of the initial stimulatory effect of the drug. Therefore, an increase
These highlights do not include all the information needed to use                    in clinical signs and symptoms of puberty, including vaginal bleeding, may
LUPRON DEPOT-PED safely and effectively. See full prescribing                        be observed during the first weeks of therapy or after subsequent doses.
information for LUPRON DEPOT-PED.                                                    (5.1)
                                                                                   • Psychiatric events: Have been reported in patients taking GnRH agonists.
LUPRON DEPOT-PED (leuprolide acetate for depot suspension), for                      Events include emotional lability, such as crying, irritability, impatience,
intramuscular use                                                                    anger, and aggression. Monitor for development or worsening of
Initial U.S. Approval: 1985                                                          psychiatric symptoms. (5.2)
                                                                                   • Convulsions: Have been observed in patients with or without a history of
                    RECENT MAJOR CHANGES                                             seizures, epilepsy, cerebrovascular disorders, central nervous system
Dosage and Administration (2.1, 2.4)                              04/2023            anomalies or tumors, and in patients on concomitant medications that have
                                                                                     been associated with convulsions. (5.3)
                        INDICATIONS AND USAGE                                      • Pseudotumor Cerebri (Idiopathic Intracranial Hypertension): Have been
LUPRON DEPOT-PED is a gonadotropin releasing hormone (GnRH) agonist                  reported in pediatric patients receiving GnRH agonists, including LUPRON
indicated for the treatment of pediatric patients with central precocious            DEPOT-PED. Monitor patients for headache, papilledema, and blurred
puberty. (1)
                                                                                     vision. (5.4)
                   DOSAGE AND ADMINISTRATION
                                                                                                              ADVERSE REACTIONS
• Must be administered by a healthcare professional. (2.1)                         • Adverse events related to suppression of endogenous sex steroid secretion
• Select appropriate LUPRON-DEPOT PED syringe for the intended dosing                and injection site reactions including abscess may occur with LUPRON
  frequency and administer intramuscularly. (2.1)                                    DEPOT-PED 7.5 mg, 11.25 mg, or 15 mg for 1-month administration. (6.1,
• For 1-month administration: Starting dose is 7.5, 11.25, or 15 mg based on         6.2)
  the patient’s weight. (2.2)                                                      • In the clinical studies for LUPRON DEPOT-PED 7.5 mg, 11.25 mg, or
• For 3-month administration: Doses are either 11.25 or 30 mg. (2.3)                 15mg for 1-month administration the most common (≥2%) adverse
• For 6-month administration: Dose is 45 mg. (2.4)                                   reactions were: emotional lability, headache, general pain, acne/seborrhea,
• Monitor hormonal and clinical parameters during treatment to ensure                rash including erythema multiforme and vaginitis/vaginal bleeding/vaginal
  adequate suppression. (2.2, 2.3, 2.4)                                              discharge. (6.1)
• Rotate injection site periodically. (2.5)                                        • In the clinical studies for LUPRON DEPOT-PED 11.25 mg or 30 mg for 3-
• See Full Prescribing Information for administration and reconstitution             month administration the most common (>2%) adverse reactions were:
  instructions. (2.5, 2.6)                                                           injection site pain, weight increased, headache, mood altered, and injection
                                                                                     site swelling. (6.1)
                   DOSAGE FORMS AND STRENGTHS                                      • In the clinical study for LUPRON DEPOT-PED 45 mg for 6-month
For depot suspension: leuprolide acetate as a lyophilized powder supplied in         administration the most common (≥4%) adverse reactions were:injection
single-dose, prefilled dual-chamber syringe with diluent (3):                        site reactions, headache, psychiatric events, abdominal pain, diarrhea,
 For 1-month administration: 7.5 mg, 11.25 mg, or 15 mg                             hemorrhage, nausea and vomiting, pyrexia, pruritus, pain in extremity, rash,
 For 3-month administration: 11.25 mg or 30 mg                                      back pain, ligament sprain, weight increased, fracture, breast tenderness,
 For 6-month administration: 45 mg                                                  insomnia, chest pain, and hyperhidrosis. (6.1)

                         CONTRAINDICATIONS                                         To report SUSPECTED ADVERSE REACTIONS, contact AbbVie Inc.
• Hypersensitivity reactions to GnRH, GnRH agonists or any of the                  at 1-800-633-9110 or FDA at 1-800-FDA-1088 or www.fda.gov/medwatch
  excipients in LUPRON DEPOT-PED (4)
• Pregnancy (4, 8.1)
                                                                                   See 17 for PATIENT COUNSELING INFORMATION and Medication
                    WARNINGS AND PRECAUTIONS                                       Guide.
• Initial Rise of Gonadotropins and Sex Steroid Levels: During the early
  phase of therapy, gonadotropins and sex steroids may rise above baseline                                                                      Revised: 04/2023




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FULL PRESCRIBING INFORMATION

1 INDICATIONS AND USAGE
LUPRON DEPOT-PED is indicated for the treatment of pediatric patients with central
precocious puberty (CPP).


2 DOSAGE AND ADMINISTRATION
2.1 Important Dosing Information
     LUPRON DEPOT-PED must be administered by a healthcare professional.
     Individualize the dose of LUPRON DEPOT-PED for each patient.
     Select the appropriate LUPRON-DEPOT PED syringe for the intended dosing frequency
      and administer intramuscularly.
     Each LUPRON DEPOT-PED strength and formulation has different release
      characteristics. Do not use partial syringes or a combination of syringes to achieve a
      particular dose.
     In the case of inadequate suppression of pituitary gonadotropins and peripheral sex
      steroids with a maximal dosage, consider other available gonadotropin releasing hormone
      (GnRH) agonists indicated for the treatment of central precocious puberty.
     Discontinue LUPRON DEPOT-PED at the appropriate age of onset of puberty.

2.2 Dosage and Recommended Monitoring for 1-Month Administration
     Administer LUPRON DEPOT-PED 7.5 mg, 11.25 mg, or 15 mg for 1-month
       administration as a single-dose intramuscular injection once every month.
     The starting dose is based on the patient's weight (see Table 1).

Table 1. Dosage Recommendations Based on Body Weight for LUPRON DEPOT-PED for
1-Month Administration
                 Body Weight                Once Monthly Recommended Dosage
          Less than or equal to 25 kg                      7.5 mg
       Greater than 25 kg up to 37.5 kg                   11.25 mg
             Greater than 37.5 kg                          15 mg

      The dosage may need to be adjusted with changes in body weight.
      If adequate hormonal and clinical suppression is not achieved with the starting dose,
       increase the dosage to the next available higher dose (e.g., 11.25 mg or 15 mg at the next
       monthly injection).
      Monitor response with a GnRH stimulation test, basal luteinizing hormone (LH) or serum
       concentration of sex steroid levels beginning 1 to 2 months following initiation of
       therapy, with changing doses, or further as judged clinically appropriate in order to
       confirm maintenance of efficacy.
      Assess height (for calculation of growth rate) and bone age every 6 to 12 months.



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2.3 Dosage and Recommended Monitoring for 3-Month Administration
     Use LUPRON DEPOT-PED 11.25 mg or 30 mg for 3-month administration once every
       three months (12 weeks) as a single-dose intramuscular injection.
     Monitor response with a GnRH stimulation test, basal LH or serum concentration of sex
       steroid levels at months 2 to 3, month 6 and further as judged clinically appropriate, to
       confirm maintenance of efficacy.
     Assess height (for calculation of growth rate) and bone age every 6 to 12 months.

2.4 Dosage and Recommended Monitoring for 6-Month Administration
     Use LUPRON DEPOT-PED 45 mg for 6-month administration once every six months
       (24 weeks) as a single-dose intramuscular injection.
     Monitor response with a GnRH stimulation test, basal LH or serum concentration of sex
       steroid levels at months 5 to 6 and further as judged clinically appropriate, to confirm
       maintenance of efficacy.
     Assess height (for calculation of growth rate) and bone age every 6 to 12 months.

2.5 Important Administration Instructions
     Administer LUPRON DEPOT-PED as a single-dose intramuscular injection into the
      gluteal area, anterior thigh, or shoulder.
     Rotate injection sites within the same region from one injection to the next.
     Inject immediately after reconstitution. Discard if not used within 2 hours.

2.6 Reconstitution Instructions
    1. Visually inspect the LUPRON DEPOT-PED powder and diluent. Do not use the syringe
       if clumping or caking is evident. A thin layer of powder on the wall of the syringe is
       considered normal prior to mixing with the diluent. The diluent should appear clear and
       free from particulate matter. Do not use the diluent if it is not clear or there is particulate
       matter.
    2. To prepare for injection, screw the white plunger into the end stopper until the stopper
       begins to turn. (see Figure 1 and Figure 2)




                                          Figure 1
LuproLoc Safety Device should be activated after product injection, refer to Step 9 (Figure 7).




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               Figure 2
3. Hold the syringe upright. Release the diluent by slowly pushing the plunger for 6 to 8
   seconds until the first stopper is at the blue line in the middle of the barrel. (Figure 3)




            Figure 3
4. Keep the syringe upright. Mix the powder thoroughly by gently shaking the syringe until
   the powder forms a uniform suspension. The suspension will appear milky. If the powder
   adheres to the stopper or caking/clumping is present, tap the syringe with your finger to
   disperse. Do not use if any of the powder has not gone into suspension. (Figure 4)




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               Figure 4
5. Hold the syringe upright. With the opposite hand pull the needle cap upward without
   twisting.
6. Keep the syringe upright. Advance the plunger to expel the air from the syringe.
   Now the syringe is ready for injection.
7. After cleaning the injection site with an alcohol swab, administer the intramuscular
   injection by inserting the needle at a 90 degree angle into the deltoid, gluteal area, or
   anterior thigh. (Figure 5)




                      Figure 5
NOTE: Aspirated blood would be visible just below the luer lock connection if a blood
vessel is accidentally penetrated. If present, blood can be seen through the transparent
LuproLoc® safety device. If blood is present remove the needle immediately. Do not inject
the medication. (Figure 6)




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             Figure 6

   8. Inject the entire contents of the syringe intramuscularly immediately after reconstitution.
      The suspension settles very quickly following reconstitution.
   9. Withdraw the needle. Once the syringe has been withdrawn, activate immediately the
      LuproLoc® safety device by pushing the arrow on the lock upward towards the needle tip
      with the thumb or finger, as illustrated, until the needle cover of the safety device is fully
      extended over the needle and a click is heard or felt. (Figure 7)




                Figure 7


3 DOSAGE FORMS AND STRENGTHS
For depot suspension: a white lyophilized powder supplied in a single-dose, prefilled dual-
chamber syringe with a colorless diluent is available as:

      For 1-month administration: 7.5 mg, 11.25 mg, or 15 mg of leuprolide acetate
      For 3-month administration: 11.25 mg or 30 mg of leuprolide acetate
      For 6-month administration: 45 mg of leuprolide acetate




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4 CONTRAINDICATIONS
 • Hypersensitivity to GnRH, GnRH agonists or any of the excipients in LUPRON DEPOT-
   PED. Anaphylactic reactions to synthetic GnRH or GnRH agonists have been reported [see
   Adverse Reactions (6.2)].
 • Pregnancy: LUPRON DEPOT-PED may cause fetal harm [see Use in Specific Populations
   (8.1)].


5 WARNINGS AND PRECAUTIONS
5.1 Initial Rise of Gonadotropins and Sex Steroid Levels
During the early phase of therapy or after subsequent doses, gonadotropins and sex steroids may
rise above baseline because of a transient stimulatory effect of the drug [see Clinical
Pharmacology (12.2)]. Therefore, an increase in clinical signs and symptoms of puberty,
including vaginal bleeding, may be observed during the first weeks of therapy or after
subsequent doses [see Adverse Reactions (6)].

5.2 Psychiatric Events
Psychiatric events have been reported in patients taking GnRH agonists, including LUPRON
DEPOT-PED. Postmarking reports with this class of drugs include symptoms of emotional
lability, such as crying, irritability, impatience, anger and aggression. Monitor for development
or worsening of psychiatric symptoms during treatment with LUPRON DEPOT-PED [see
Adverse Reactions (6.2)].

5.3 Convulsions
Postmarketing reports of convulsions have been observed in patients receiving GnRH agonists,
including LUPRON DEPOT-PED. These included patients with a history of seizures, epilepsy,
cerebrovascular disorders, central nervous system anomalies or tumors, and patients on
concomitant medications that have been associated with convulsions such as bupropion and
SSRIs. Convulsions have also been reported in patients in the absence of any of the conditions
mentioned above [see Adverse Reactions (6.2)].

5.4 Pseudotumor Cerebri (Idiopathic Intracranial Hypertension)
Pseudotumor cerebri (idiopathic intracranial hypertension) have been reported in pediatric
patients receiving GnRH agonists, including LUPRON DEPOT-PED. Monitor patients for signs
and symptoms of pseudotumor cerebri, including headache, papilledema, blurred vision,
diplopia, loss of vision, pain behind the eye or pain with eye movement, tinnitus, dizziness, and
nausea.


6 ADVERSE REACTIONS

The following serious adverse reactions are described here and elsewhere in the label:




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        Initial rise in gonadotropin and sex steroid levels [see Warnings and Precautions (5.1)].
        Psychiatric Events [see Warnings and Precautions (5.2)].
        Convulsions [see Warnings and Precautions (5.3)].
        Pseudotumor Cerebri (Idiopathic Intracranial Hypertension) [see Warnings and
         Precautions (5.4)]

6.1 Clinical Trials Experience
Because clinical studies are conducted under widely varying conditions, adverse reaction rates
observed in the clinical studies of a drug cannot be directly compared to rates in the clinical
studies of another drug and may not reflect the rates observed in practice.
LUPRON DEPOT-PED for 1-month administration

LUPRON DEPOT-PED 1-month administration was evaluated in a pivotal, open label,
multicenter study in which 55 (49 female and 6 male) pediatric patients with central precocious
puberty were enrolled. The age ranged from 1 to 8 years of age at the beginning of treatment; the
mean age for females was 6.8 years (range: 1 to 9 years) and the mean age for males was 7.5
years (range: 4 to 9 years); 61.8% were Caucasian; 20% Black; 1.8% Oriental; and 16.4%
Hispanic.
Adverse reactions that occurred in >2% of patients are shown in Table 2.


  Table 2. Adverse Reactions Occurring in ≥2% in Pediatric Patients with CPP Receiving
                               LUPRON DEPOT-PED 1-month
                                                                        % of Patients
                                                                          (N = 421)
 Injection Site Reactions Including Abscess*                                  9
 Emotional Lability                                                           5
 Headache                                                                     3
 General Pain                                                                 3
 Acne/Seborrhea                                                               3
 Rash Including Erythema Multiforme                                           3
 Vaginitis/Vaginal Bleeding/Vaginal Discharge                                 3
 Vasodilation                                                                 2
* Most events were mild or moderate in severity.


Less Common Adverse Reactions
The following adverse reactions were reported in less than 2% of the patients and are listed
below by body system.
Body as a Whole – aggravation of preexisting tumor and decreased vision, allergic reaction, body
odor, fever, flu syndrome, hypertrophy, infection;
Cardiovascular System – bradycardia, hypertension, peripheral vascular disorder, syncope;
Digestive System – constipation, dyspepsia, dysphagia, gingivitis, increased appetite,
nausea/vomiting;



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Endocrine System – accelerated sexual maturity, feminization, goiter;
Hemic and Lymphatic System – purpura;
Metabolic and Nutritional Disorders – growth retarded, peripheral edema, weight gain;
Musculoskeletal System – arthralgia, joint disorder, myalgia, myopathy;
Nervous System – hyperkinesia, somnolence;
Psychiatric System – depression, nervousness;
Respiratory System – asthma, epistaxis, pharyngitis, rhinitis, sinusitis;
Integumentary System (Skin and Appendages) – alopecia, hair disorder, hirsutism, leukoderma,
nail disorder, skin hypertrophy;
Urogenital System – cervix disorder/neoplasm, dysmenorrhea, gynecomastia/breast disorders,
menstrual disorder, urinary incontinence.
Laboratory: The following laboratory events were reported as adverse reactions: antinuclear
antibody present and increased sedimentation rate.

LUPRON DEPOT-PED for 3-month administration
LUPRON DEPOT-PED for 3-month administration was evaluated in a pivotal, open-label,
multicenter, clinical study with 84 randomized pediatric patients with central precocious puberty;
76 (90.5%) were females and 8 (9.5%) were males. The age ranged from 1 to 11 years age at the
beginning of treatment; 80/84 (95.2%) were 5 years or older, and female patients were younger
than male; the mean age for 11.25 mg and 30 mg groups for females was 7.6 and 7.7 years, and
for males 9.3 and 9.4 years, respectively; 58.3% were Caucasian; 22.6% were Black; 7.1% were
Asian; 1.2% were Native Hawaiian or Other Pacific Islander; and 10.7% were Multi-race.
Adverse reactions that occurred in >2% of patients are shown in Table 3.


        Table 3. Adverse Reactions Occurring in ≥2% in Pediatric Patients with CPP
                Receiving LUPRON DEPOT-PED for 3-month administration.
                                            %                   %
                                         11.25 mg            30 mg               %
                                      every 3 Months     every 3 Months        Overall
                                           N=42               N=42             N = 84
Injection site pain                         19                  21               20
Weight increased                             7                  7                 7
Headache                                     2                  7                 5
Mood altered                                 5                  5                 5
Injection site swelling                      2                  2                 2

Less Common Adverse Reactions
The following adverse reactions were reported in one patient and are listed below by system
organ class:
Gastrointestinal Disorders – abdominal pain, nausea;
General Disorders and Administration Site Conditions – asthenia, gait disturbance, injection site
abscess sterile, injection site hematoma, injection site induration, injection site warmth,
irritability;




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Metabolic and Nutritional Disorders – decreased appetite, obesity;
Musculoskeletal and Connective Tissue Disorders - musculoskeletal pain, pain in extremity;
Nervous System Disorders – dizziness;
Psychiatric Disorders – crying, tearfulness;
Respiratory, Thoracic and Mediastinal Disorders – cough;
Skin and Subcutaneous Tissue Disorders – hyperhidrosis;
Vascular Disorders – pallor.

LUPRON DEPOT-PED for 6-month administration
LUPRON DEPOT-PED for 6-month administration was evaluated in an open-label, multicenter,
clinical study with 45 pediatric patients with central precocious puberty; 41 (91%) were females
and 4 (9%) were males. The baseline age ranged from 4 to 10 years. There were 30 (67%)
Caucasian; 7 (16%) Black; and 1 (2%) Asian.
Adverse reactions that occurred in >4 % of all patients are shown in Table 4.


    Table 4. Adverse Reactions Occurring in ≥4% in Pediatric Patients with CPP
           Receiving LUPRON DEPOT-PED for 6-month administration.
                                                                                    Total
                                                                                  (N = 45)
                                                                                    n (%)
    Injection Site Reactions a                                                    35 (78%)
    Headache b                                                                    15 (33%)
    Psychiatric Events c                                                          10 (22%)
    Abdominal Pain d                                                               8 (18%)
    Diarrhea e                                                                     7 (16%)
    Hemorrhage f                                                                   6 (13%)
    Nausea and Vomiting                                                            6 (13%)
    Pyrexia                                                                        6 (13%)
    Pruritus g                                                                     5 (11%)
    Pain in extremity                                                              4 (9%)
    Rash                                                                           3 (7%)
    Back Pain                                                                      3 (7%)
    Ligament sprain                                                                3 (7%)
    Weight increased                                                               3 (7%)
    Fracture h                                                                     2 (4%)
    Breast tenderness i                                                            2 (4%)
    Insomnia j                                                                     2 (4%)
    Chest pain                                                                     2 (4%)
    Hyperhidrosis                                                                  2 (4%)
a
  Injection site reactions includes the preferred terms injection site pain, injection site erythema, injection site reaction, injection
site warmth, injection site bruising, injection site discomfort, and injection site swelling
b-
   Headache includes the preferred terms headache and cluster headache
c
  Psychiatric events includes the preferred terms affect lability, affective disorder, aggression, crying, depressed mood, disruptive
mood dysregulation disorder, hallucination auditory, mood altered, mood swings, and trichotillomania
d
   Abdominal pain includes the preferred terms abdominal pain, abdominal pain upper, and abdominal discomfort




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e
  Diarrhea includes the preferred terms gastroenteritis and diarrhea
f
  Hemorrhage includes the preferred terms contusion, epistaxis, hematochezia, and injection site bruising
g
  Pruritus includes the preferred terms pruritus, vulvovaginal pruritus, nasal pruritus
h
   Fracture includes the preferred terms ankle fracture and tibia fracture
i
  Breast tenderness includes the preferred terms breast pain and breast tenderness
j
  Insomnia includes the preferred terms initial insomnia and insomnia

6.2 Postmarketing Experience
The following adverse reactions have been identified during post-approval use of leuprolide
acetate or LUPRON DEPOT-PED in pediatric patients. Because these reactions are reported
voluntarily from a population of uncertain size, it is not always possible to reliably estimate their
frequency or establish a causal relationship to drug exposure.
Allergic reactions: anaphylactic, rash, urticaria, and photosensitivity reactions.
General: chest pain, weight increase, decreased appetite, fatigue.
Laboratory Abnormalities: decreased WBC.
Metabolic: diabetes mellitus.
Musculoskeletal and Connective Tissue: tenosynovitis-like symptoms, severe muscle pain,
arthralgia, epiphysiolysis, muscle spasms, myalgia.
Published literature and postmarketing reports indicate that bone mineral density may decrease
during GnRH therapy in pediatric patients with central precocious puberty. Published studies
indicate that after discontinuation of therapy, subsequent bone mass accrual is preserved and
peak bone mass in late adolescence does not seem to be affected.
Neurologic: neuropathy peripheral, convulsion, insomnia, pseudotumor cerebri (idiopathic
intracranial hypertension).
Psychiatric Disorders: emotional lability, such as crying, irritability, impatience, anger, and
aggression. Depression, including rare reports of suicidal ideation and attempt. Many, but not all,
of these patients had a history of psychiatric illness or other comorbidities with an increased risk
of depression.
Reproductive System: vaginal bleeding, breast enlargement.
Respiratory: dyspnea.
Skin and Subcutaneous Tissue: injection site reactions including induration and abscess, flushing,
hyperhidrosis.
Vascular Disorders: hypertension, hypotension.


7 DRUG INTERACTIONS
7.1 Drug Interactions
No pharmacokinetic-based drug-drug interaction studies have been conducted with LUPRON
DEPOT-PED [see Clinical Pharmacology (12.3)] .




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7.2 Drug-Laboratory Test Interactions
Administration of LUPRON DEPOT-PED in therapeutic doses results in suppression of the
pituitary-gonadal system. Therefore, diagnostic tests of pituitary gonadotropic and gonadal
functions conducted during treatment and up to six months after discontinuation of LUPRON
DEPOT-PED may be affected. Normal pituitary-gonadal function is usually restored within six
months after treatment with LUPRON DEPOT-PED is discontinued.


8 USE IN SPECIFIC POPULATIONS
8.1 Pregnancy
Risk Summary
LUPRON DEPOT-PED is contraindicated in pregnancy [see Contraindications (4)].
LUPRON DEPOT-PED may cause fetal harm, when administered to a pregnant woman, based
on findings from animal studies and the drug’s mechanism of action [see Clinical Pharmacology
(12.1)]. The available data from published clinical studies and case reports and from the
pharmacovigilance database on exposure to LUPRON DEPOT-PED during pregnancy are
insufficient to assess the risk of major birth defects, miscarriage, or adverse maternal or fetal
outcomes. Based on animal reproduction studies, LUPRON DEPOT-PED may be associated
with an increased risk of pregnancy complications, including early pregnancy loss and fetal
harm. In animal reproduction studies, subcutaneous administration of leuprolide acetate to
rabbits during the period of organogenesis caused embryo-fetal toxicity, decreased fetal weights
and a dose-dependent increase in major fetal abnormalities in animals at doses less than the
recommended human dose based on body surface area using an estimated daily dose. A similar
rat study also showed increased fetal mortality and decreased fetal weights but no major fetal
abnormalities at doses less than the recommended human dose based on body surface area using
an estimated daily dose (see Data).
The estimated background risk of major birth defects and miscarriage for the indicated
population is unknown. In the US general population, the estimated background risk of major
birth defects and miscarriage in clinically recognized pregnancies is 2% - 4% and 15% -20%,
respectively.

Data
Animal Data
When administered on day 6 of pregnancy at test dosages of 0.00024 mg/kg, 0.0024 mg/kg, and
0.024 mg/kg (doses less than the recommended human dose) to rabbits, leuprolide acetate
produced a dose-related increase in malformations comprised primarily of segmental and fusion
defects of the skeleton and skull. Similar studies in rats failed to demonstrate an increase in fetal
malformations. There was increased fetal mortality and decreased fetal weights with the two
higher doses of leuprolide acetate in rabbits and with the highest dose (0.024 mg/kg) in rats.

8.2 Lactation




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Risk Summary

There are no data on the presence of leuprolide acetate in either animal or human milk, the
effects on the breastfed infants, or the effects on milk production. The developmental and health
benefits of breastfeeding should be considered along with the mother’s clinical need for
LUPRON DEPOT-PED and any potential adverse effects on the breastfed infant from LUPRON
DEPOT-PED or from the underlying maternal condition.

8.3 Females and Males of Reproductive Potential

Pregnancy Testing

Exclude pregnancy in women of reproductive potential prior to initiating LUPRON DEPOT-
PED if clinically indicated [see Use in Specific Populations (8.1)].

Contraception

Females

LUPRON DEPOT-PED may cause embryo-fetal harm when administered during pregnancy.
LUPRON DEPOT-PED is not a contraceptive. If contraception is indicated, advise females of
reproductive potential to use a non-hormonal method of contraception during treatment with
LUPRON DEPOT-PED [see Use in Specific Populations (8.1)].

Infertility

Based on its pharmacodynamic effects of decreasing secretion of gonadal steroids, fertility is
expected to be decreased while on treatment with LUPRON DEPOT-PED. Clinical and
pharmacologic studies in adults (>18 years) with leuprolide acetate and similar analogs have
shown reversibility of fertility suppression when the drug is discontinued after continuous
administration for periods of up to 24 weeks [see Clinical Pharmacology (12.2)].

There is no evidence that pregnancy rates are affected following discontinuation of LUPRON
DEPOT-PED.

Animal studies (prepubertal and adult rats and monkeys) with leuprolide acetate and other GnRH
analogs have shown functional recovery of fertility suppression.

8.4 Pediatric Use
The safety and effectiveness of LUPRON DEPOT-PED for the treatment of CPP has been
established in pediatric patients 1 years of age and older. Use of LUPRON DEPOT-PED for this
indication is supported by evidence from two pivotal, open label clinical studies of 139 pediatric
patients with central precocious puberty with an age range of 1 to 11 years [see Clinical Studies
(14)]. The safety and effectiveness of LUPRON DEPOT-PED have not been established in
pediatric patients less than 1 year old.




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10 OVERDOSAGE
No specific antidotes for LUPRON DEPOT-PED are known. Contact Poison Control (1-800-
222-1222) for latest recommendations.
In cases of overdosage, standard of care monitoring and management principles should be
followed.


11 DESCRIPTION
LUPRON DEPOT-PED contains active ingredient, leuprolide, in the form of acetate salt, a
gonadotropin-releasing hormone (GnRH) agonist. It is a synthetic nonapeptide analog of
naturally occurring gonadotropin-releasing hormone (GnRH or LH-RH). The analog possesses
greater potency than the natural hormone. The chemical name of leuprolide acetate is 5-oxo-L-
prolyl-L-histidyl-L-tryptophyl-L-seryl-L-tyrosyl-D-leucyl-L-leucyl-L-arginyl-N-ethyl-L-
prolinamide acetate, which has molecular formula of C59H84N16O12.(C2H4O2)n, n=1 or 2, with
the following structural formula:




LUPRON DEPOT-PED for 1-month administration
LUPRON DEPOT-PED is available in a prefilled dual-chamber single-dose syringe containing
sterile lyophilized microsphere powder incorporated in a biodegradable lactic acid/glycolid acid
copolymer which, when mixed with diluent, becomes a suspension for intramuscular injection.
When mixed with 1 milliliter of accompanying diluent, LUPRON DEPOT-PED for 1-month
administration is administered as a single-dose intramuscular injection.
The front chamber of LUPRON DEPOT-PED 7.5 mg, 11.25 mg, and 15 mg a prefilled dual-
chamber syringe contains leuprolide acetate (7.5 mg equivalent to 6.83-7.15 mg leuprolide /
11.25 mg equivalent to 10.24 – 10.72 mg leuprolide / 15 mg equivalent to 13.65 – 14.30 mg
leuprolide), purified gelatin (1.3/1.95/2.6 mg), DL-lactic and glycolic acids copolymer
(66.2/99.3/132.4 mg), and D-mannitol (13.2/19.8/26.4 mg). The second chamber of diluent
contains carboxymethylcellulose sodium (5 mg), D-mannitol (50 mg), polysorbate 80 (1 mg),
water for injection, USP, and glacial acetic acid, USP to control pH.
LUPRON DEPOT-PED for 3-month administration
LUPRON DEPOT-PED 11.25 mg or 30 mg for 3-month administration is available in a prefilled
dual-chamber single-dose syringe containing sterile lyophilized microsphere powder
incorporated in a biodegradable lactic acid/glycolid acid copolymer which, when mixed with
diluent, becomes a suspension for intramuscular injection. When mixed with 1.5 milliliters of




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accompanying diluent, LUPRON DEPOT-PED for 3-month administration is administered as a
single-dose intramuscular injection.
The front chamber of LUPRON DEPOT-PED 11.25 mg for 3-month administration prefilled
dual-chamber syringe contains leuprolide acetate (11.25 mg, equivalent to 10.24 - 10.72 mg
leuprolide), D-mannitol (19.45 mg), and polylactic acid (99.3 mg). The second chamber of
diluent contains carboxymethylcellulose sodium (7.5 mg), D-mannitol (75.0 mg), polysorbate 80
(1.5 mg), water for injection, USP, and glacial acetic acid, USP to control pH.
The front chamber of LUPRON DEPOT-PED 30 mg for 3-month administration prefilled dual-
chamber syringe contains leuprolide acetate (30 mg, equivalent to 27.30 - 28.59 mg leuprolide),
D-mannitol (51.9 mg), and polylactic acid (264.8 mg). The second chamber of diluent contains
carboxymethylcellulose sodium (7.5 mg), D-mannitol (75.0 mg), polysorbate 80 (1.5 mg), water
for injection, USP, and glacial acetic acid, USP to control pH.
LUPRON DEPOT-PED for 6-month administration
LUPRON DEPOT-PED 45 mg for 6-month administration is available in a prefilled dual-
chamber syringe containing sterile lyophilized microspheres which, when mixed with diluent,
become a suspension intended as an intramuscular injection.
The front chamber of LUPRON DEPOT-PED 45 mg for 6-month administration prefilled dual-
chamber syringe contains leuprolide acetate (45 mg, equivalent to 40.95 - 42.89 mg leuprolide),
D-mannitol (39.7 mg), polylactic acid (169.9 mg), and stearic acid (10.1 mg). The second
chamber of diluent contains carboxymethylcellulose sodium (7.5 mg), D-mannitol (75.0 mg),
polysorbate 80 (1.5 mg), water for injection, USP, and glacial acetic acid, USP to control pH.



12 CLINICAL PHARMACOLOGY
12.1 Mechanism of Action
Leuprolide acetate, a GnRH agonist, acts as a potent inhibitor of gonadotropin secretion (LH and
follicle stimulating hormone (FSH)) when given continuously in therapeutic doses.

12.2 Pharmacodynamics
Following an initial stimulation of GnRH receptors, chronic administration of leuprolide acetate
results in downregulation of GnRH receptors, reduction in release of LH and FSH, and
consequent suppression of ovarian and testicular production of estradiol and testosterone,
respectively. This inhibitory effect is reversible upon discontinuation of drug therapy.

12.3 Pharmacokinetics
Absorption
LUPRON DEPOT-PED for 1-month administration
Following a single LUPRON DEPOT-PED 7.5 mg for 1-month administration to adult patients,
mean peak leuprolide plasma concentration was almost 20 ng/mL at 4 hours and then declined to




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0.36 ng/mL at 4 weeks. However, intact leuprolide and an inactive major metabolite could not be
distinguished by the assay which was employed in the study. Nondetectable leuprolide plasma
concentrations have been observed during chronic LUPRON DEPOT-PED 7.5 mg
administration, but testosterone levels appear to be maintained at castrate levels.
In a study of pediatric patients with CPP, doses of 7.5 mg, 11.25 mg and 15.0 mg of LUPRON
DEPOT-PED were given every 4 weeks. In 22 pediatric patients, trough leuprolide plasma levels
were determined according to weight categories as summarized below:

  Patient Weight       Group Weight                       Trough Plasma Leuprolide Level
    Range (kg)         Average (kg)        Dose (mg)             Mean ±SD (ng/mL)*
     20.2 - 27.0           22.7               7.5                   0.77±0.033
     28.4 - 36.8           32.5              11.25                   1.25±1.06
     39.3 - 57.5           44.2               15.0                   1.59±0.65
* Group average values determined at Week 4 immediately prior to leuprolide injection. Drug
levels at 12 and 24 weeks were similar to respective 4 week levels.

LUPRON DEPOT-PED for 3-month administration
Following a single LUPRON DEPOT-PED 11.25 mg or 30 mg for 3-month administration to
pediatric patients with CPP, leuprolide concentrations increased with increasing dose with mean
peak leuprolide plasma concentration of 19.1 and 52.5 ng/mL at 1 hour for the 11.25 and 30 mg
dose levels, respectively. The concentrations then declined to 0.08 and 0.25 ng/mL at 2 weeks
after dosing for the 11.25 and 30 mg dose levels. Mean leuprolide plasma concentration
remained constant from month 1 to month 3 for both 11.25 and 30 mg doses. The mean
leuprolide concentrations 3 months after the first and second injections were similar indicating
no accumulation of leuprolide from repeated administration.
LUPRON DEPOT-PED for 6-month administration
Following a single injection of LUPRON DEPOT-PED 45 mg for 6-month administration in 20
pediatric patients with CPP, mean peak plasma concentration increased rapidly to 15.7 ng/mL 1
hour post-dose. Following the initial rise, mean leuprolide plasma concentration declined to 0.03
ng/mL by Week 24. The mean leuprolide concentrations 6 months after the first and second
injections were comparable indicating no accumulation of leuprolide from repeated
administration.




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Distribution
The mean steady-state volume of distribution of leuprolide following intravenous bolus
administration to healthy male subjects was 27 L. In vitro binding to human plasma proteins
ranged from 43% to 49%.

Elimination
Metabolism
In healthy male subjects given an intravenous 1 mg bolus of leuprolide the mean systemic
clearance was 7.6 L/h, with a terminal elimination half-life of approximately 3 hours based on a
two-compartment model.
In rats and dogs, administration of 14C-labeled leuprolide was shown to be metabolized to
smaller inactive peptides; a pentapeptide (Metabolite I), tripeptides (Metabolites II and III) and a
dipeptide (Metabolite IV). These fragments may be further catabolized.
The major metabolite (M-I) plasma concentrations measured in 5 prostate cancer patients
reached maximum concentration 2 to 6 hours after dosing and were approximately 6% of the
peak parent drug concentration. One week after dosing, mean plasma M-I concentrations were
approximately 20% of mean leuprolide concentrations.

Excretion
Following administration of LUPRON DEPOT 3.75 mg to 3 patients, less than 5% of the dose
was recovered as parent and M-I metabolite in the urine.

Specific Populations
The pharmacokinetics of LUPRON DEPOT-PED has not been determined in patients with
hepatic or renal impairment.

Drug-Drug Interactions
No pharmacokinetic-based drug-drug interaction studies have been conducted with LUPRON
DEPOT-PED. Leuprolide acetate is a peptide that is not degraded by cytochrome P-450
enzymes; hence, drug interactions associated with cytochrome P-450 enzymes would not be
expected to occur.


13 NONCLINICAL TOXICOLOGY

13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
A two-year carcinogenicity study was conducted in rats and mice. In rats, a dose-related increase
of benign pituitary hyperplasia and benign pituitary adenomas was noted at 24 months when the
drug was administered subcutaneously at high daily doses (0.6 to 4 mg/kg). There was a
significant but not dose-related increase of pancreatic islet-cell adenomas in females and of
testicular interstitial cell adenomas in males (highest incidence in the low dose group). In mice,




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no leuprolide acetate-induced tumors or pituitary abnormalities were observed at a dose as high
as 60 mg/kg for two years.
Mutagenicity studies have been performed with leuprolide acetate using bacterial and
mammalian systems. These studies provided no evidence of a mutagenic potential.


14 CLINICAL STUDIES
14.1 LUPRON DEPOT-PED for 1-month administration
The efficacy of LUPRON DEPOT-PED was evaluated in a pivotal open-label, multicenter
clinical trial (NCT00660010) in which 55 pediatric patients with central precocious puberty (49
females and 6 males, naïve to previous GnRHa treatment) were treated with LUPRON DEPOT-
PED 1-month formulations until age was appropriate for entry into puberty (see treatment period
data below)and a subset of 40 patients were then followed post-treatment (see follow-up period
data below). The mean ± SD age at the start of treatment was 7 ± 2 years and the duration of
treatment was 4 ± 2 years. Study drug was administered intramuscularly (IM) every 28 days,
with incremental adjustments of 3.75mg at each clinic visit, if necessary based on clinical and
laboratory results. During the follow-up period, GnRHa stimulation test was performed every 6
months until a pubertal response was observed.
During the treatment period, LUPRON DEPOT-PED suppressed gonadotropins and sex steroids
to prepubertal levels. Suppression of peak stimulated LH concentrations to < 1.75 mIU/mL was
achieved in 96% of patients by month 1. Five patients required increased doses of study drug to
achieve or retain LH suppression. The number and percentage of patients with suppression of
peak stimulated LH < 1.75 mIU/mL and mean ± SD peak stimulated LH over time is shown in
Table 5. Six months after the treatment period was finished, the mean peak stimulated LH was
20.6 ± SD 13.7 mIU/mL (n=30).
The following effects have been noted with the chronic administration of leuprolide: cessation of
menses (in girls), normalization and stabilization of linear growth and bone age advancement,
stabilization of clinical signs and symptoms of puberty.



                 Table 5. The number and percentage of patients with peak
              stimulated LH < 1.75 mIU/mL and Mean (SD) peak LH at each
                                        clinic visit
                                n with peak stimulated
                                 LH < 1.75 mIU/mL/
                                     N with a LH
                                 measurement for that
              Weeks on Study             week           Mean (SD) peak LH
                                   n/N           %
                  Baseline         0/55          0%          35.0 (21.32)
                  Week 4          53/55        96.4%          0.8 (0.57)
                  Week 12         48/54        88.9%          1.1 (1.77)




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                 Table 5. The number and percentage of patients with peak
              stimulated LH < 1.75 mIU/mL and Mean (SD) peak LH at each
                                        clinic visit
                                n with peak stimulated
                                 LH < 1.75 mIU/mL/
                                     N with a LH
                                 measurement for that
              Weeks on Study             week           Mean (SD) peak LH
                  Week 24         48/53        90.6%          0.8 (0.79)
                  Week 36         51/54        94.4%          0.6 (0.43)
                  Week 48         51/54        94.4%          0.6 (0.47)
                  Week 72         52/52         100%          0.5 (0.30)
                  Week 96         46/46         100%          0.4 (0.33)
                 Week 120         40/40         100%          0.4 (0.27)
                 Week 144         36/36         100%          0.4 (0.24)
                 Week 168         27/28        96.4%          1.2 (4.58)
                 Week 216         18/19        94.7%          0.5 (0.90)
                 Week 240         16/17        94.1%          0.4 (0.62)
                 Week 264         14/15        95.3%          0.4 (0.41)
                 Week 288         11/11         100%          0.3 (0.22)
                 Week 312          9/9          100%          0.4 (0.20)
                 Week 336          6/6          100%          0.3 (0.10)
                 Week 360          6/6          100%          0.3 (0.13)
                 Week 384          5/5          100%          0.2 (0.10)
                 Week 408          3/3          100%          0.2 (0.09)
                 Week 432          2/2          100%          0.3 (0.04)
                 Week 456          2/2          100%          0.2 (0.04)
                 Week 480          1/1          100%          0.2 (NA)
                 Week 504          1/1          100%          0.2 (NA)

Suppression (defined as regression or no change) of the clinical/physical signs of puberty was
achieved in most patients. In females, suppression of breast development ranged from 66.7 to
90.6% of patients during the first 5 years of treatment. The mean stimulated estradiol was 15.1
pg/mL at baseline, decreased to the lower level of detection (5.0 pg/mL) by Week 4 and was
maintained there during the first 5 years of treatment. In males, suppression of genitalia
development ranged from 60% to 100% of patients during the first 5 years of treatment. The
mean stimulated testosterone was 347.7 ng/dL at baseline and was maintained at levels no
greater than 25.3 ng/dL during the first 5 years of treatment.
A “flare effect” of transient bleeding or spotting during the first 4 weeks of treatment was
observed in 19.4% (7/36) females who had not reached menarche at baseline. After the first 4
weeks and for the remainder of the treatment period, no patients reported menstrual-like
bleeding, and only rare spotting was noted.




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The mean ratio of bone age to chronological age decreased from 1.5 at baseline to 1.1 by end of
treatment. The mean height standard deviation z-score changed from 1.6 at baseline to 0.7 at the
end of the treatment phase.
Thirty five (35) females and 5 males participated in a post-treatment follow-up period to assess
reproductive function (in females) and final height. At 6 months post-treatment, most patients
reverted to pubertal levels of LH (87.9%) and clinical signs of resumption of pubertal
progression were evident with increase in breast development in girls (66.7%) and increase in
genitalia development in boys (80%).
After stopping treatment, regular menses were reported for all female patients who reached 12
years of age during follow-up; mean time to menses was approximately 1.5 years; mean age of
onset of menstruation after stopping treatment was 12.9 years.
Of the 40 patients evaluated in the follow-up, 33 were observed until they reached final or near-
final adult height. These patients had a mean increase in final adult height compared to baseline
predicted adult height. The mean final adult height standard deviation score was -0.2.

14.2 LUPRON DEPOT-PED for 3-month administration
The efficacy was evaluated in a 6-month, randomized, open-label clinical study of LUPRON
DEPOT-PED 3-Month formulations (NCT00667446). 84 patients (76 female, 8 male) between 1
and 11 years of age received the LUPRON DEPOT-PED 11.25 mg or 30 mg for 3-month
administration formulation. Each dose group had an equal number of treatment-naïve patients
who had pubertal LH levels and patients previously treated with GnRHa therapies who had
prepubertal LH levels at the time of study entry. The percentage of patients with suppression of
peak-stimulated LH to < 4.0 mIU/mL, as determined by assessments at months 2, 3 and 6, is
78.6% in the 11.25 mg dose and 95.2% in the 30 mg dose as shown in Table 6.


       Table 6. Suppression of Peak-Stimulated LH from Month 2 Through Month 6
                               LUPRON DEPOT-PED                LUPRON DEPOT-PED
                              11.25 mg every 3 Months           30 mg every 3 Months
                                               a
                             Naïve Prev Trt        Total      Naïve Prev Trta Total
        Parameter            N = 21    N = 21     N = 42     N = 21     N = 21    N = 42
Percent with Suppression      76.2      81.0       78.6       90.5       100       95.2
2-sided 95% CI             52.8, 91.8 58.1, 94.6 63.2, 89.7 69.6, 98.8 83.9, 100 83.8, 99.4
a. Previously treated with GnRHa for at least 6 months prior to enrollment in pivotal Study L-
CP07-167.


The mean peak stimulated LH levels for all visits are shown by dose and subgroup (naïve vs.
previously treated patients) in Figures 8 and 9.
Figure 8. Mean Peak Stimulated LH for LUPRON DEPOT-PED 11.25 mg for 3-month
administration




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Figure 9. Mean Peak Stimulated LH for LUPRON DEPOT-PED 30 mg for 3-month
administration




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For the LUPRON DEPOT-PED 11.25 mg dose for 3-month administration, 93% (39/42) of
patients and for LUPRON DEPOT-PED 30 mg dose for 3-month administration, 100% (42/42)
of patients had sex steroid (estradiol or testosterone) suppressed to prepubertal levels at all visits.
Clinical suppression of puberty in female patients was observed in 29 of 32 (90.6%) and 28 of 34
(82.4%) of patients in the 11.25 mg and 30 mg groups, respectively, at month 6. Clinical
suppression of puberty in males was observed in 1 of 2 (50%) and 2 of 5 (40%) patients in the
11.25 mg and 30 mg groups, respectively, at month 6. In patients with complete data for bone
age, 29 of 33 (88%) in the 11.25 mg group and 30 of 40 in the 30 mg group (75%) had a
decrease in the ratio of bone age to chronological age at month 6 compared to screening.

14.3 LUPRON DEPOT-PED for 6-month administration
The safety and efficacy of LUPRON DEPOT-PED 6-Month formulation was evaluated in an
open-label, single-arm, multicenter, clinical trial (NCT03695237).
In the clinical trial, 27 pediatric patients with central precocious puberty (24 females and 3
males) naïve to previous GnRH agonist treatment and 18 pediatric patients with central
precocious puberty (17 females and 1 males) previously treated with GnRH agonist therapy
(including 1-,3-, 6- and 12- month) received LUPRON DEPOT-PED 45 mg. LUPRON DEPOT-
PED 45 mg was administered as an intramuscular injection at two intervals 24 weeks apart.




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The primary efficacy endpoint of percentage of patients with suppression of peak-stimulated LH
to < 4.0 mIU/mL at Week 24 was achieved in 39/45 (86.7 %) patients (Table 7). Of the patients
previously treated with other GnRHa formulations 94.4% remained suppressed at Week 24.


         Table 7. Suppression of Peak-Stimulated GnRHa-Stimulated LH at Week 24
                                                  LUPRON DEPOT-PED
                                                         45 mg
                                         Naïve            Prev Trta          Total
           Parameter                     N = 27            N = 18            N =45
Percent with Suppression, n (%)        22 (81.5)          17 (94.4)        39 (86.7)
95% CI                                 61.9, 93.7         72.7, 99.9       73.2, 95.0
   a. Previously treated with GnRHa for at least 6 months prior to enrollment in pivotal Study
      M16-904
The mean peak stimulated LH levels decreased from 17.4 mIU/mL in treatment-naïve patients
and from 2.1 mIU/ML in previously treated patients at baseline to 1.6 mIU/mL and 1.5 mIU/mL
respectively at Week 4. The levels remained suppressed for all visits up to Week 48.
The proportion of female patients with suppression of basal estradiol to <20 pg/mL was 97.4% at
Week 24 and 100% at Week 48. The proportion of male patients with suppression of
testosterone to <30 ng/dL was 100% at Weeks 24 and 48. Suppression (defined as regression or
no change) of the physical signs of puberty was achieved in most patients.
In patients with complete data for bone age, 40 of 45(88.9%) and 42 of 45 (93.3%) had a
decrease in the ratio of bone age to chronological age at Weeks 24 and 48, respectively,
compared to baseline.


16 HOW SUPPLIED/STORAGE AND HANDLING


How Supplied
LUPRON DEPOT-PED for depot suspension is supplied in a single dose, prefilled dual-chamber
syringe containing a white lyophilized powder and a colorless diluent for reconstitution as
follows (Table 8):


Table 8. LUPRON DEPOT-PED Product Presentations
    LUPRON DEPOT-PED 7.5 mg, 11.25 mg, or 15 mg for 1-Month Administration
    Kit Type              Strength                       NDC Number
                           7.5 mg                      NDC 0074-2108-03
1-month kit               11.25 mg                     NDC 0074-2282-03
                           15 mg                       NDC 0074-2440-03
         LUPRON DEPOT-PED 11.25 mg or 30 mg for 3-Month Administration
                          11.25 mg                     NDC 0074-3779-03



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    LUPRON DEPOT-PED 7.5 mg, 11.25 mg, or 15 mg for 1-Month Administration
    Kit Type             Strength                        NDC Number
3-month kit               30 mg                        NDC 0074-9694-03
             LUPRON DEPOT-PED 45 mg for 6-Month Administration
6-month kit               45 mg                        NDC 0074-3575-01

Each kit contains:
 • one single-dose, prefilled dual-chamber syringe containing 23 gauge 1½ inch needle with
   LuproLoc® safety device
 • one plunger
 • two alcohol swabs
 • population, dose and frequency confirmation insert
 • a complete prescribing information enclosure
Storage and Handling
Prior to reconstitution, store at 20°C to 25°C (68°F to 77°F); excursions permitted to 15°C to
30°C (59°F to 86°F) [See USP Controlled Room Temperature].

After reconstitution, use immediately [see Dosage and Administration (2.5, 2.6)].


17 PATIENT COUNSELING INFORMATION
Advise the patient to read the FDA-approved patient labeling (Medication Guide).
Symptoms After Initial LUPRON DEPOT-PED Administration
Inform patients and caregivers that during the early phase of therapy with LUPRON DEPOT-
PED, gonadotropins and sex steroids rise above baseline because of the initial stimulatory effect
of the drug. Therefore, an increase in clinical signs and symptoms of puberty may be observed.
Instruct patients and caregivers to notify the physician if these symptoms continue beyond the
second month after LUPRON DEPOT-PED administration [see Warnings and Precautions
(5.1)].
Psychiatric Events
Inform patients and caregivers that psychiatric events have been reported in patients taking
GnRH agonists, including leuprolide acetate. Events include emotional lability, such as crying,
irritability, impatience, anger, and aggression. Instruct patients and caregivers to monitor for
development or worsening of psychiatric symptoms including depression during treatment with
LUPRON DEPOT-PED [see Warnings and Precautions (5.2)].
Convulsions
Inform patients and caregivers that reports of convulsions have been observed in patients
receiving GnRH agonists, including leuprolide acetate. Patients with a history of seizures,
epilepsy, cerebrovascular disorders, central nervous system anomalies or tumors, and patients on
concomitant medications that have been associated with convulsions may be at increased risk
[see Warnings and Precautions (5.3)].




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Pseudotumor Cerebri (Idiopathic Intracranial Hypertension)
Inform patients and caregivers that reports of pseudotumor cerebri (idiopathic intracranial
hypertension) have been observed in pediatric patients receiving GnRH agonists, including
LUPRON DEPOT-PED. Advise patients and caregivers to monitor for headache and vision
issues such as blurred vision, double vision, loss of vision, pain behind the eye or pain with eye
movement, ringing in the ears, dizziness, and nausea. Advise patients and caregivers to contact
their healthcare provider if the patient develops any of these symptoms [see Warnings and
Precautions (5.4)].
Injection Site Reactions
Inform patients and caregivers that injection site related adverse reactions may occur such as
transient burning/stinging, pain, bruising, and redness. Advise patients to contact their healthcare
provider if they experience rash or severe injection site reactions [see Adverse Reactions (6.1)].
Pregnancy
LUPRON DEPOT-PED is contraindicated in pregnancy. If the patient becomes pregnant while
taking the drug, the patient should be informed of the potential risk to the fetus [see Use in
Specific Populations (8.1)].
Compliance with the Dosing Schedule
Inform caregivers about the importance of adherence to the LUPRON DEPOT-PED dosing
schedule [see Dosage and Administration (2.2, 2.3, 2.4)].


Manufactured for
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20078685



                                         MEDICATION GUIDE
                            LUPRON DEPOT-PED® (loo-pron depo peed)
                             (leuprolide acetate for depot suspension)
What is the most important information I should know about LUPRON DEPOT-PED?
 • During the first 2 to 4 weeks of treatment, LUPRON DEPOT-PED can cause an increase in
   some hormones. During this time you may notice more signs of puberty in your child, including
   vaginal bleeding. Call your doctor if these signs continue after the second month of treatment
   with LUPRON DEPOT-PED.
 • Some people taking gonadotropin releasing hormone (GnRH) agonists like LUPRON DEPOT-
   PED have had new or worsened mental (psychiatric) problems. Mental (psychiatric) problems
   may include emotional symptoms such as:
   o crying
   o irritability
   o restlessness (impatience)




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    o anger
    o acting aggressive
Call your child’s doctor right away if your child has any new or worsening mental symptoms or
problems while taking LUPRON DEPOT-PED.
 • Some people taking GnRH agonists like LUPRON DEPOT-PED have had seizures. The risk of
    seizures may be higher in people who:
    o have a history of seizures
    o have a history of epilepsy
    o have a history of brain or brain vessel (cerebrovascular) problems or tumors
    o are taking a medicine that has been connected to seizures such as bupropion or selective
        serotonin reuptake inhibitors (SSRIs)
Seizures have also happened in people who have not had any of these problems. Call your child’s
doctor right away if your child has a seizure while taking LUPRON DEPOT-PED.
 • increased pressure in the fluid around the brain can happen in children taking gonadotropin
    releasing hormone (GnRH) agonist medicines including LUPRON DEPOT-PED. Call your
    child’s doctor right away if your child has any of the following symptoms during treatment
    with LUPRON DEPOT-PED:
    o headache                                          o ringing in the ears
    o eye problems, including blurred vision,           o dizziness
        double vision and decreased eyesight            o nausea
    o eye pain
What is LUPRON DEPOT-PED?
 • LUPRON DEPOT-PED is an injectable prescription gonadotropin releasing hormone (GnRH)
    medicine used for the treatment of children with central precocious puberty (CPP).
 • It is not known if LUPRON DEPOT-PED is safe and effective in children less than 1 year old.
LUPRON DEPOT-PED should not be taken if your child is:
 • allergic to GnRH, GnRH agonist medicines, or any ingredients in LUPRON DEPOT-PED. See the
    end of this Medication Guide for a complete list of ingredients in LUPRON DEPOT-PED.
 • pregnant or becomes pregnant. LUPRON DEPOT-PED can cause birth defects or loss of the baby. If
    your child becomes pregnant call your doctor.
Before your child receives LUPRON DEPOT-PED, tell their doctor about all of your child’s medical
conditions including if they:
 • have a history of mental (psychiatric) problems.
 • have a history of seizures.
 • have a history of epilepsy.
 • have a history of brain or brain vessel (cerebrovascular) problems or tumors.
 • are taking a medicine that has been connected to seizures such as bupropion or selective serotonin
    reuptake inhibitors (SSRIs).
 • are breastfeeding or plans to breastfeed. It is not known if LUPRON DEPOT-PED passes into the
    breast milk.
Tell your doctor about all the medicines your child takes, including prescription and over-the-counter
medicines, vitamins, and herbal supplements.
How will your child receive LUPRON DEPOT-PED?
 • Your child’s doctor should do tests to make sure your child has CPP before treating them with
    LUPRON DEPOT-PED.
 • LUPRON DEPOT-PED is given as a single-dose injection into your child’s muscle each month, every
    3 months, or every 6 months by a doctor or trained nurse. Your doctor will decide how often your
    child will receive the injection.
 • Keep all scheduled visits to the doctor. If a scheduled dose is missed, your child may start having
    signs of puberty again. The doctor will do regular exams and blood tests to check for signs of
    puberty.
What are the possible side effects of LUPRON DEPOT-PED?
LUPRON DEPOT-PED may cause serious side effects. See “What is the most important




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information I should know about LUPRON DEPOT-PED?”
The most common side effects of LUPRON DEPOT-PED received 1 time each month include:
    • injection site reactions such as pain, swelling, and abscess
    • weight gain
    • pain throughout body
    • headache
    • acne or red, itchy, rash, and white scales (seborrhea)
    • serious skin rash (erythema multiforme)
    • mood changes
    • swelling of vagina (vaginitis), vaginal bleeding, and vaginal discharge
The most common side effects of LUPRON DEPOT-PED received every 3 months include:
    • injection site reactions such as pain and swelling
    • weight gain
    • headache
    • mood changes
The most common side effects of LUPRON DEPOT-PED received every 6 months include:
    • injection site reactions such as • nausea and vomiting             • weight gain
       pain, swelling, and abscess        • fever                        • fracture
    • headache                            • itching                      • breast tenderness
    • mood changes                        • pain in extremity            • difficulty sleeping
    • upper stomach pain                  • rash                         • chest pain
    • diarrhea                            • back pain                    • excessive sweating
    • bleeding                            • ligament sprain

These are not all the possible side effects of LUPRON DEPOT-PED. Call your doctor for medical
advice about side effects. You may report side effects to FDA at 1-800-FDA-1088.
How should I store LUPRON DEPOT-PED INJECTION?
  • Store LUPRON DEPOT-PED INJECTION at room temperature between 68○F to 77○F (20○C to
     25○C).
  • Keep LUPRON DEPOT-PED INJECTION and all medicines out of the reach of children.
General information about the safe and effective use of LUPRON DEPOT-PED.
Medicines are sometimes prescribed for purposes other than those listed in a Medication Guide. Do not
use LUPRON DEPOT-PED for a condition for which it was not prescribed.
This Medication Guide summarizes the most important information about LUPRON DEPOT-PED. If you
would like more information, talk with your doctor. You can ask your pharmacist or doctor for information
about LUPRON DEPOT-PED that is written for doctors or trained nurses.
What are the ingredients in LUPRON DEPOT-PED?
LUPRON DEPOT-PED 7.5 mg, 11.25 mg or 15 mg for 1-month administration:
Active Ingredients: leuprolide acetate for depot suspension
Inactive Ingredients: purified gelatin, DL-lactic and glycolic acids copolymer, D-mannitol,
carboxymethylcellulose sodium, polysorbate 80, water for injection, USP, and glacial acetic acid, USP to
control pH.
LUPRON DEPOT-PED 11.25 mg or 30 mg for 3-month administration:
Active Ingredients: leuprolide acetate for depot suspension
Inactive Ingredients: polylactic acid, D-mannitol, carboxymethylcellulose sodium, polysorbate 80, water
for injection, USP, and glacial acetic acid, USP to control pH.
LUPRON DEPOT-PED 45 mg for 6-month administration:
Active Ingredients: leuprolide acetate for depot suspension
Inactive Ingredients: polylactic acid, D-mannitol, and stearic acid, carboxymethylcellulose sodium, D-
mannitol, polysorbate 80, water for injection, USP, and glacial acetic acid, USP to control pH.

Manufactured for:
AbbVie Inc.
North Chicago, IL 60064
By Takeda Pharmaceutical Company Limited




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Osaka, Japan 540-8645
For more information, go to www.lupronped.com or call 1-800-633-9110.
This Medication Guide has been approved by the U.S. Food and Drug Administration.   Revised: April, 2023



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